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16
                               UNITED STATES DISTRICT COURT
17                           NORTHERN DISTRICT OF CALIFORNIA
18    IN RE: ROUNDUP PRODUCTS                     MDL No. 2741
      LIABILITY LITIGATION                        Case No. 16-md-02741-VC
19

20
      This document relates to:                    PLAINTIFFS’ NOTICE OF MOTION AND
21                                                 MOTION IN LIMINE NO. 5 TO EXCLUDE
      Hardeman v. Monsanto Co.,                    CERTAIN U.S. EPA DOCUMENTS
22
      3:16-cv-0525-VC;                             RELATING TO GLYPHOSATE’S
23
      Stevick v. Monsanto Co., et al.,             CARCINOGENICITY
      3:16-cv-02341-VC;
24    Gebeyehou v. Monsanto Co., et al.,
      3:16-cv-5813-VC
25

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      PLAINTIFF’S MOTION IN LIMINE NO. 5 TO EXCLUDE CERTAIN U.S. EPA DOCUMENTS RELATING
                                TO GLYPHOSATE’S CARCINOGENICITY
        Case 3:16-md-02741-VC Document 2596 Filed 01/30/19 Page 2 of 8




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     PLAINTIFF’S MOTION IN LIMINE NO. 5 TO EXCLUDE CERTAIN U.S. EPA DOCUMENTS RELATING
                               TO GLYPHOSATE’S CARCINOGENICITY
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 1   TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 2   PLEASE TAKE NOTICE THAT beginning on February 13, 2019 in Courtroom 4 of the
 3   United States District Court, Northern District of California, located at 450 Golden Gate
 4
     Avenue, San Francisco, CA 94102, or as ordered by the Court, Plaintiffs will present their
 5
     Motion in Limine to Exclude Certain U.S. EPA Documents Relating to Glyphosate’s
 6
     Carcinogenicity. A supporting memorandum is filed herewith.
 7
     Dated: 1/30/19                                   Respectfully submitted,
 8

 9                                                    /s/ Aimee H. Wagstaff
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      PLAINTIFF’S MOTION IN LIMINE NO. 5 TO EXCLUDE CERTAIN U.S. EPA DOCUMENTS RELATING
                                TO GLYPHOSATE’S CARCINOGENICITY
             Case 3:16-md-02741-VC Document 2596 Filed 01/30/19 Page 4 of 8




 1
                                                INTRODUCTION
 2
              The court should exclude any efforts by Monsanto to introduce certain reports of the
 3
     U.S. Environmental Protection Agency (“EPA”) about the carcinogenicity of glyphosate, such
 4
     as the Revised Glyphosate Issue Paper: Evaluation of Carcinogenic Potential, December 12,
 5

 6
     2017 (“2017 Issue Paper”), the Draft Human Health Risk Assessment in Support of

 7   Registration for Glyphosate, December 12, 2017, and the Glyphosate Issue Paper: Evaluation

 8   of Carcinogenic Potential, September 12, 2016 (collectively referred to as the “Reports”). The

 9   Reports are inadmissible hearsay evidence, as they do not qualify under the public records

10   exception to hearsay under Federal Rule of Evidence 803(8), the Reports contain opinions of
11   individuals not designated by Monsanto as non-retained expert witnesses and the time to
12   designate experts has passed. Moreover, the Reports are inadmissible under FRE 403 because
13   any probative value they might have – and Plaintiffs assert they have no probative value – is
14
     substantially outweighed by their prejudicial impact.
15
                                                  ARGUMENT
16
        I.       The EPA Reports Are Hearsay And Thus Not Admissible.
17
                 A. The Reports are Out of Court Statements Offered for Truth of their
18
                    Contents.
19            The only possible reason Monsanto would introduce the Reports is for the opinions
20   contained therein that glyphosate is not a probable human carcinogen. That is per se
21   impermissible hearsay. In fact, the reports are double hearsay, because they are based on
22   documents that industry, including Monsanto, submitted to the EPA for review.
23            The Reports are nothing more than reviews of existing literature and data submitted by
24   Monsanto – which are themselves hearsay, rendering the EPA reports double hearsay. Indeed,
25   the Reports are incomplete interim analyses based on hearsay documents submitted to the EPA
26   for review. See, e.g., EPA acknowledges that the 2017 Issue Paper is a draft document,
27   https://www.epa.gov/pesticides/epa-releases-draft-risk-assessments-glyphosate.
28
              Courts have rebuffed arguments for admission of government reports under these

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 1   circumstances when the public reports contain information that is itself hearsay. Olender v.
 2   U.S., 210 F.2d 795, 802 (9th Cir. 1954) (holding official documents of investigators of the
 3   department of public welfare not admissible when they did not concern matters within personal
 4
     knowledge or observation, but rather were based on forms and affidavits of firms and
 5
     individuals). What is more, the EPA’s interim opinions set forth in those reports about what
 6
     that literature and data shows is not subject to cross examination.1 And, as explained below,
 7
     Monsanto’s failure to designate an EPA employee as a non-retained expert to testify at trial
 8
     about the Reports, renders them inadmissible as well because the Plaintiffs would have no
 9
     opportunity to cross-examine EPA about the Reports.2 Furthermore, the Reports cannot be
10
     offered for their effect on the listener either because each was released after Mr. Hardeman
11
     stopped using Roundup. Fed. R. Evid. 801(c).
12
                 Admission of the Reports would also prejudice Plaintiffs because they have no
13
     opportunity to cross-examine the EPA about the Reports. Through these Reports, Monsanto
14

15
     would basically be proffering the EPA as an expert in this case. Yet, Monsanto did not identify

16   as a non-retained expert an EPA employee who would be able to testify about the Reports, and

17   be subject to cross -examination, and the time to do so has run. Thus, Monsanto has no witness

18   who can provide competent testimony to overcome the hearsay bar for the admission of the

19   Reports.
20
           II.      The Public Records Exception to Hearsay Is Not Satisfied Here.
21
                 The documents do not fall within the hearsay exception for public records either.
22
     1
       In contrast, Monsanto has designated expert witnesses who reference the EPA Reports as reliance
23   materials and will be able to testify about their opinions of EPA’s assessments without introducing the
     hearsay Reports themselves into evidence. Paddack v. Dave Christensen, Inc., 745 F.2d 1254, 1261-62
24   (9th Cir. 1984) (holding expert may testify about document that constitutes hearsay for the limited
     purpose of explaining the basis of his expert opinion, but not to introduce the document as substantive
25
     evidence).
     2
26
       To be clear, the EPA reports are distinguishable from the IARC Monograph in several significant
     ways. Most importantly, Monsanto cross examined Drs. Blair, Ross, and Jameson- all three were
27   members of IARC Monograth 112 (glyphosate). It is expected both parties will designate portions of
     Drs. Blair and Ross video deposition testimony for trial (as played at the original Daubert hearing).
28   Further, Plaintiffs intend to bring Dr. Jameson as an IARC fact witness, allowing Monsanto another
     opportunity for cross examination.

                                                     2
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         PLAINTIFF’S MOTION IN LIMINE NO. 5 TO EXCLUDE CERTAIN U.S. EPA DOCUMENTS RELATING
                                   TO GLYPHOSATE’S CARCINOGENICITY
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 1   Federal Rule of Evidence 803(8), which creates an exception for certain public records and
 2   reports, requires that the report be routine, factual, based upon personal knowledge of the
 3   public officials, and appear reasonably reliable. Fed. R. Evid. 803. The Reports do not meet
 4
     this standard. The Reports do not contain acts or events directly recorded by public officials.
 5
     First and foremost, to the extent they contain “facts” from toxicology, genotoxicity and/or
 6
     epidemiological studies, then the studies themselves are the proper evidence, not the Reports’
 7
     discussion of them. To the extent the Reports contain the authors’ opinions about those
 8
     studies, the Reports are neither factual nor based upon the public officials personal knowledge
 9
     and, thus, do not fall within the hearsay exception and are inadmissible. Finally, Plaintiffs have
10
     voluminous evidence that the contents of the Reports are not reasonably reliable.
11

12         III.      FRE 403 Also Supports Exclusion of the Reports In Evidence.

13
                  Finally, regardless of hearsay, the Reports should be excluded under Federal Rule of
14
     Evidence 403 as any probative value of the opinions contained therein – and Plaintiffs contend
15
     they have none – is substantially outweighed by the unfair prejudice that Plaintiffs would face
16
     if they were admitted. Here, evidence regarding the EPA regulations, registrations, and/or
17
     communications pose a substantial risk of misleading the jury, confusing the issues, wasting
18
     time, and, ultimately prejudicing plaintiffs – particularly in Phase I.3 Plaintiffs anticipate that
19

20
     Monsanto will attempt to introduce evidence that suggests (improperly) that EPA registration

21
     and approval of the label forecloses Plaintiffs’ claims – particularly Plaintiffs’ failure to warn

22   claims.4 But it is well established that EPA registration and approval are not a defense for the

23   commission of any offense under federal or state law. See Hardeman v. Monsanto Company,

24   216 F. Supp. 3d 1037, 1038 (N.D. Cal. 2016) (internal citations omitted). Similarly, this Court
25   3
       This is particularly true if the Court were to preclude Plaintiffs’ ability to introduce evidence of
26
     Monsanto’s attempts to improperly influence the EPA and/or regulatory activity in Phase I, thus
     compounding further the prejudicial nature of such evidence the likelihood that a jury would be misled.
     4
27     California law requires a manufacturer to warn either of any risk that is known or knowable (in strict
     liability), or at least those risks that “a reasonably prudent manufacturer would have known and warned
28   about” (in negligence). Hardeman v. Monsanto Co., 216 F. Supp.3d 1037, 1038 (N.D. Cal. 2016)
     (internal citations omitted).

                                                     3
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 1   previously rejected Monsanto’s argument that EPA registration has the “force of law.” Id. Thus,
 2   evidence that Monsanto was restricted from warning Plaintiffs of Non-Hodgkin’s lymphoma
 3   because of EPA registration misstates the applicable law and, importantly, misleads and
 4
     confuses the jury and prejudices plaintiffs.
 5
            Under California law, Monsanto (and not EPA) is responsible for adequately warning
 6
     consumers of the risks associated with its glyphosate-based products. Webb v. Special Elec. Co.
 7
     (2016) 63 Cal.4th 167, 181 (“manufacturers have a duty to warn consumers about the hazards
 8
     inherent in their products). The jury must determine whether the manufacturer knew (or should
 9
     have known) of the dangerous propensities of its product and whether the manufacturer
10
     adequately warned of the known risk. Any argument or testimony implying that EPA’s
11
     registration relieves Monsanto of its legal duty is contrary to California law.
12
            Finally, admission of the Reports would be unfairly prejudicial because Plaintiffs would
13
     not have the opportunity to cross examine the EPA about the events that led up to the Reports,
14

15
     including substantial evidence of Monsanto’s undue and improper influence of the science,

16   including ghostwriting articles and studies, its undue influence on government personnel

17   making decisions about glyphosate’s carcinogenicity, and its failure to provide the EPA with

18   relevant documents relating to glyphosate’s carcinogenicity. As stated above, Monsanto has

19   not designated an EPA employee to testify about the Reports at trial.
20                                            CONCLUSION
21          For the foregoing reasons, the Court should grant Plaintiffs’ motion in limine and
22   exclude the Reports from evidence.
23
        Dated: January 30, 2019                            Respectfully submitted,
24                                                         /s/ Aimee H. Wagstaff
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10                                                       Co-Lead Counsel for Plaintiffs

11
                                    CERTIFICATE OF SERVICE
12
            I certify that on January 30, 2019, I electronically filed the foregoing document with the
13
     Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
14
     CM/ECF participants registered to receive service in this MDL.
15
                                                         /s/ Aimee Wagstaff______________
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